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      March 5, 2021

      VIA ECF

      Hon. Laura Taylor Swain
      United States District Court
      Southern District of New York
      Daniel Patrick Moynihan
      United States Courthouse
      500 Pearl St.
      New York, NY 10007-1312

                         Re:      Curry v. P&G Auditors and Consultants, LLC
                                  No. 20 Civ. 6985 (LTS) (SLC)

      Dear Judge Swain:

              Together with Klein Law Group of New York PLLC, we represent the
      Plaintiffs/Crossclaim Defendants in the above-referenced action. I write to inform the Court that
      the Plaintiffs and the Contractor Defendants (P&G Auditors and Consultants, LLC, GRC
      Solutions, LLC, and PGX, LLC, which is also the Crossclaim Plaintiff) have agreed to engage in
      mediation to seek a resolution in this case. As such, the parties respectfully request the Crossclaim
      Defendants’ motion to dismiss the crossclaims, which was filed on March 2, 2021, be held in
      abeyance pending the outcome of mediation. If the parties do not reach a resolution, the parties
      respectfully request, as set forth in the attached stipulation, that the Crossclaim Plaintiffs’
      opposition to the motion be due 30 days after the parties inform the Court that mediation was
      unsuccessful. This is the first request for an extension of time, and all parties consent to this
      request. We thank the Court for its attention to this matter.

                                                            Respectfully submitted,
Application granted.
                                                            /s/ Denise A. Schulman
The Clerk of Court is respectfully directed                 Denise A. Schulman
to close ECF No. 100.
      cc: All counsel (via ECF)
SO-ORDERED 3/5/2021
